                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                             3:15-cr-123-MOC-WCM

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                               ORDER
TRAVIS TRAMAINE ELLIOT,                )
                                       )
                  Defendant.           )
_______________________________________)

      THIS MATTER is before the Court on Defendant’s pro se Motion for Early Termination

of Probation/Supervised Release. (Doc. No. 66).

                                          ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                                  Signed: October 8, 2021




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